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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

VALERIE HICKS,                                )
                                              )
       Plaintiff,                             )
                                              )       Cause No.:     4:22-cv-167-CDP
v.                                            )
                                              )
MENARD, INC.                                  )
                                              )
       Defendant.                             )

     CONSENT MOTION TO MODIFY THE DATES REFERRING THIS CASE TO
                 ALTERNATIVE DISPUTE RESOLUTION

       Comes now, Plaintiff Valerie Hicks, by and through their respective counsel, and hereby

move this Court to modify the deadline relating to completion of alternative dispute resolution.

In support of their Consent Motion, the Parties state as follows:

       1. On March 18, 2022, this Court issued an Order referring this case to alternative

           dispute resolution (“ADR”) and ordered that ADR be completed by October 7, 2022

           (Doc. 13).

       2. Plaintiff’s Counsel intends to designate Robert S. Cohen as their mediator, and had

           contacted his office to gather a list of potential dates for mediation.

       3. Neither Counsel for the Defendant nor Plaintiff Hicks would have been available for

           the following dates. Moreover, Plaintiff Hicks is currently traveling from Connecticut

           to Texas to visit and care for one of her family members, who is currently declining

           in health.

       4. Due to such scheduling conflicts and circumstances, the Parties are unable to

           schedule mediation prior to the Court’s October 7, 2022 deadline and requested that

           the Court extend the March 16, 2022 deadline for the Parties to complete mediation.
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                                         Respectfully submitted,

                                         OTT LAW FIRM


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